     Case 1:15-cr-00286-DAD-BAM Document 194 Filed 01/26/17 Page 1 of 2


 1    HEATHER E. WILLIAMS, Bar #122664
      Federal Defender
 2    MEGAN T. HOPKINS, Bar #294141
      Assistant Federal Defender
 3    Designated Counsel for Service
      2300 Tulare Street, Suite 330
 4    Fresno, CA 93721-2226
      Telephone: (559) 487-5561
 5    Fax: (559) 487-5950

 6    Attorney for Defendant
      RAMSEY FARRAJ
 7
 8                             IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11    UNITED STATES OF AMERICA,                   )   Case No. 1:15-cr-0286-AWI-BAM
                                                  )
12                      Plaintiff,                )   REQUEST FOR RULE 43 WAIVER OF
                                                  )   APPEARANCE FOR DEFENDANT;
13    vs.                                         )   [PROPOSED] ORDER THEREON
                                                  )
14    RAMSEY FARRAJ,                              )
                                                  )
15                     Defendant.                 )
                                                  )
16                                                )

17           Pursuant to Federal Rule of Criminal Procedure 43(b)(3), Defendant, Ramsey Farraj,

18    having been advised of his right to be present at all stages of the proceedings, hereby requests
19    that this Court proceed in his absence on every occasion that the Court may permit, pursuant to
20    this waiver. Defendant agrees that his interests shall be represented at all times by the presence

21    of his attorney, the Office of the Federal Defender for the Eastern District of California, the same
22    as if Defendant were personally present, and requests that this Court allow his attorney-in-fact to
23    represent his interests at all times. Defendant further agrees that notice to Defendant’s attorney

24    that Defendant’s presence is required will be deemed notice to the Defendant of the requirement
25    of his appearance at said time and place.
26           Defendant previously requested a waiver of appearance at all non-substantive hearings,
27    which was granted. Defendant understands from the Court that it is necessary to further request,
28    specifically, that his appearance be waived at any further substantive hearings, including
     Case 1:15-cr-00286-DAD-BAM Document 194 Filed 01/26/17 Page 2 of 2


 1    hearings on the issue of discovery, for which the Defendant anticipates there may be several

 2    further hearings prior to trial. Defendant resides in Bakersfield, CA and must travel for

 3    approximately two hours each way in order to appear in court. It is a hardship for Defendant to

 4    appear at court appearances for this reason. Defendant respectfully requests that the Court waive

 5    his appearance at all future pre-trial hearings unless his appearance is ordered by the Court.

 6
 7                                                          Respectfully submitted,

 8                                                          HEATHER E. WILLIAMS
                                                            Federal Defender
 9
10             DATED: January 26, 2017                      /s/ Ramsey Farraj
                                                            RAMSEY FARRAJ
11                                                          [Original Signature in File]

12
13             DATED: January 26, 2017                      /s/ Megan T. Hopkins
                                                            Megan T. Hopkins
14                                                          Assistant Federal Defender
                                                            Attorney for Defendant
15                                                          Ramsey Farraj

16
17
18                                                ORDER

19             GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant’s Ramsey

20    Jeries Farraj appearance may be waived at any and all non-substantive proceedings until further

21    order.

22    IT IS SO ORDERED.

23
         Dated:     January 26, 2017                           /s/ Barbara A. McAuliffe                _
24                                                       UNITED STATES MAGISTRATE JUDGE
25
26
27
28
